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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION



UNITED STATES of AMERICA                                         PLAINTIFF


VS.                       CASE NO. 4:17-CR-00293 BSM-10


DALLAS D. STANDRIDGE                                             DEFENDANT


                                      ORDER

      Stephanie Mazzanti is on the Court’s recusal list and is counsel of record for

Plaintiff United States of America in this action.

      The Clerk is directed to randomly assign the referral in this case (Doc. No.

2179) to another United States Magistrate Judge.

      IT IS SO ORDERED this 12th day of August, 2021.



                                       __________________________________
                                       UNITED STATES MAGISTRATE JUDGE
